Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 1 of 15
Case 2:23-mj-09072-ESW *SEALED* Document9 Filed 03/01/23 Page 1 of 1

UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
SEALED
United States of America Case Number: 23-09072MJ-001-PHX-ESW
v. Charging District’s Case No.

Christina Patacky-Beghin 3:23-CR-26-MEM-2

COMMITMENT TO ANOTHER DISTRICT
The defendant has been ordered to appear in the Middle District of Pennsylvania, Scranton

division. The defendant docs not need an interpreter.

The defendant: C] will retain an attorney.

XJ is requesting court-appointed counsel.

The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States marshal must transport the defendant, together with a copy
of this order, to the charging district and deliver the defendant to the United States marshal for that
district, or to another officer authorized ‘to receive the defendant. The marshal or officer in the charging
district should immediately notify the United States attorney and the clerk of-court for that district of the

defendant’s arrival so that further proceedings may be promptly scheduled. _TheClerk of this district

must promptly transmit the papers and any bail jothe charging district.

Date: 2/28/2023 hs if

Deborah M. Fine
United States Magistrate Judge

cc: USMS, PTS, AUSA, Def Cnst
Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 2 of 15

CLOSED

U.S. District Court

DISTRICT OF ARIZONA (Phoenix Division)
CRIMINAL DOCKET FOR CASE #: 2:23-mj-09072-ESW-1 *SEALED*

Case title: USA v. SEALED

Internal Use Only

Date Filed: 02/22/2023

Plea Filings Sentencing Filings
Other court case number: 3:23-CR-26 Middle District of Date Terminated: 03/01/2023

Pennsylvania

Assigned to: Magistrate Judge Eileen S
Willett

Defendant (1)

Christina Patacky-Beghin
29842-510
TERMINATED: 03/01/2023

Pending Counts
None

Highest Offense Level (Opening)

None

Terminated Counts

None

Highest Offense Level (Terminated)

None

Complaints

21:846 - Conspiracy to Possess and
Distribute Controlled Substance (Fentanyl);
21:841(a)(1), 841(b)(1)(B) and 18:2 -
Distribution of Controlled Substance
(Fentanyl, Aid and Abet

represented by Jason Duffy Squires
Squires Law PLLC
60 E Rio Salado Pkwy., Ste. 900
Tempe, AZ 85281
480-507-6666
Fax: 480-507-6672
Email: squireslaw@gmail.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Retained

Disposition

Disposition

Disposition

Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 3 of 15

Plaintiff
USA represented by Esther J Winne
US Attorneys Office - Phoenix, AZ
2 Renaissance Square
40 N Central Ave., Ste. 1800
Phoenix, AZ 85004-4408
602-514-7694
Email: esther.winne@usdoj.gov
TERMINATED: 02/28/2023
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Assistant US Attorney
Margaret Wu Perlmeter
US Attorneys Office - Phoenix, AZ
2 Renaissance Square
40 N Central Ave., Ste. 1800
Phoenix, AZ 85004-4408
602-514-7402
Email: margaret.perlmeter@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Assistant US Attorney
Date Filed # Docket Text
02/21/2023 1 | Arrest (Rule 5 - Middle District of Pennsylvania Warrant) of Christina Patacky-
Beghin. (MAP) (Entered: 02/22/2023)
02/22/2023 le 2 | *SEALED* MINUTE ENTRY for proceedings held before Magistrate Judge Eileen
S Willett: Initial Appearance in Rule 5(c)(3) Proceedings as to Christina Patacky-
Beghin held on 2/22/2023. The Court has received a Notice of Appearance
submitted by retained attorney Jason Squires. Detention Hearing and Status Hearing
Re Identity Hearing set for 2/28/2023 at 10:30.AM in Courtroom 303, 401 West
Washington Street, Phoenix, AZ 85003 before Magistrate Judge Deborah M Fine.
(Recorded by COURTSMART.) Hearing held 3:53 PM to 3:56 PM. (ce:
AUSA/Dft's Cnsl/PTS/USMS)(MAP) (Entered: 02/22/2023)
02/22/2023 lee *SEALED* (Court only) Set Hearings as to Christina Patacky-Beghin: Status
Conference Re Identity Hearing set for 2/28/2023 at 10:30 AM in Courtroom 303,
401 West Washington Street, Phoenix, AZ 85003 before Magistrate Judge Deborah
M Fine. (MAP) (Entered: 02/22/2023)
02/22/2023 3 | NOTICE OF ATTORNEY APPEARANCE: Jason Duffy Squires appearing for
Christina Patacky-Beghin. (cc: AUSA/Dfns Cnsl) (MAP) (Entered: 02/22/2023)
02/22/2023 fe 4 | *SEALED* BRADY ORDER as to Christina Patacky-Beghin - Pursuant to Rule

5(f) of the Federal Rules of Criminal Procedure, the United States is ordered to
disclose in a timely manner all exculpatory evidence to the defendant(s), that is, all
evidence that is favorable to the defendant(s) or tends to cast doubt on the United
States case, as required by Brady v. Maryland, 373 U.S. 83 (1963) and its progeny.
Failure to comply with this order may result in consequences, including, but not
limited to, the reversal of any conviction, the exclusion of evidence, adverse jury
instructions, dismissal of charges, contempt proceedings, disciplinary action, and/or

Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 4 of 15

sanctions by the Court. Signed by Magistrate Judge Eileen S Willett on 2/22/23. (cc:
AUSA/Dfns Cnsl) (MAP) (Entered: 02/22/2023)

02/23/2023 fe Pretrial Services Bail Report as to Christina Patacky-Beghin filed by Pretrial

Services. (MAP) (Entered: 02/24/2023)

In

02/28/2023

In

NOTICE OF ATTORNEY SUBSTITUTION: Margaret Perlmeter appearing for
USA. Attorney Esther J Winne terminated. (MAP) (Entered: 02/28/2023)

02/28/2023 ig 7 | *SEALED* MINUTE ENTRY for proceedings held before Magistrate Judge
Deborah M Fine: Detention Hearing and Rule 5(c)(3) Identity Hearing as to
Christina Patacky-Beghin held on 2/28/2023. Defendant waives the Rule 5(c)(3)
Identity Hearing. The Government advises that the charging district has indicated
they will appeal any release order entered in this case. Accordingly, the Government
and charging district request that any release order be stayed to allow for the appeal
process. For the reasons stated on the record, Defendant is ordered released on her
own recognizance with conditions. FURTHER ORDERED staying the Order
Setting Conditions of Release pending appeal in the charging district and further
order from the Court in the charging district. The conditions of release are reviewed
on the record with Defendant and Third-Party Custodian. FURTHER ORDERED
Defendant is committed to the Middle District of Pennsylvania, Scranton Division
for further proceedings. Order to issue. The record shall reflect that Defendant is
requesting court-appointed counsel for the Pennsylvania proceedings. (Recorded by
COURTSMART.) Hearing held 10:42 AM to 11:13 AM. (cc: AUSA/Dfns
Cnsl/PTS/USMS)(MAP) (Entered: 02/28/2023)

02/28/2023 8 | *ORDER STAYED PURSUANT TO DOC. 7 *ORDER Setting Conditions of
Release as to Christina Patacky-Beghin. Signed by Magistrate Judge Deborah M
Fine on 2/28/23. (cc: AUSA/Dfns Cnsl/Dft/PTS/USMS) (MAP) (Entered:
03/01/2023)

03/01/2023 9 | COMMITMENT TO ANOTHER DISTRICT as to Christina Patacky-Beghin.

Defendant Committed to District of Middle District of Pennsylvania. Signed by
Magistrate Judge Deborah M Fine on 3/1/23. (cc: AUSA/Dfns Cnsl/PTS/USMS)
(MAP) (Entered: 03/01/2023)

03/01/2023 le 10 | *SEALED* MOTION to Unseal Recording for Limited Purpose by USA as to
| ~ | Christina Patacky-Beghin. (Attachments: # 1 Proposed Order, # 2 Lodged
Transcript Order Form)(MAP) (Entered: 03/01/2023)

03/01/2023 le 11 | *SEALED* ORDER granting 10 Motion to Unseal Recording (Limited Purpose as
| to Christina Patacky-Beghin (1). FURTHER ORDERED that the detention hearing
held on February 28, 2023, be unsealed for the limited purpose of allowing counsel
for the United States to obtain a copy of the recording from the detention hearing.
FURTHER ORDERED that the United States Attorney's Office in the District of
Arizona may provide a copy of the recording to the United States Attorney's Office
in the MiddleDistrict of Pennsylvania. FURTHER ORDERED that the United
States Attorney's Office in the District of Arizona may provide a copy of the
recording to defense counsel, Jason Squires. Signed by Magistrate Judge Deborah
M Fine on 3/1/23. (cc: AUSA/Dfns CNsl/Rudy Apodaca) (MAP) (Entered:
03/01/2023)

03/01/2023 12 | Notice to Middle District of Pennsylvania of a Rule 5 or Rule 32 Initial Appearance
as to Christina Patacky-Beghin. Your case number is: 3:23CR26-2. The case is
SEALED.

(f you wish to designate a different email address for future transfers, please send

Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 5 of 15

your request to the national list host at
InterdistrictTransfer_TXND@txnd.uscourts.gov.) (MAP) (Entered: 03/01/2023)

03/01/2023 (Court only) ***Staff Notes as to Christina Patacky-Beghin: Pursuant to the

Commitment Order filed, the following sealed documents are forwarded to the

Middle District of Pennsylvania: 2, 4, 7, 8, 9, 10, 11 and docket sheet. (MAP)
(Entered: 03/01/2023)

Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 6 of 15
Case 2:23-mj-09072-ESW *SEALED* Document 2*SEALED* Filed 02/22/23 Page 1 of 1

MAGISTRATE JUDGE'S MINUTES
IN THE UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA — PHOENIX

U.S. Magistrate Judge: Eileen S. Willett oo, Date: February 22; 2023 SEALED
: USA v. Christina Patacky-Beghin _Case No.: 23-09072MJ-001-PHX-ESW

Assistant U.S. Attorney: Esther Winne
Attorney for Defendant: Jason Squires, retained
Defendant: Present and in custody

Interpreter: N/A

Date of Arrest: 2/21/2023

Initial Appearance in Rule 5 proceedings held on this date. The Court has received a Notice of
Appearance submitted by retained attorney Jason Squires.

The Government is seeking detention. Upon request of defense counsel, IT IS ORDERED setting a
Detention Hearing and Status Hearing re: Identity Hearing for February 28, 2023 at 10:30 a.m. before
Magistrate Judge Deborah M. Fine, Courtroom 303. Defendant temporarily detained pending further
proceedings in this district.

As required by Rule 5(f), the United States is ordered to produce all information required by Brady v.
Maryland and its progeny. Not doing so in a timely manner may result in sanctions, including
exclusion of evidence, adverse jury instructions, dismissal of charges, and contempt proceedings.

Recorded by CourtSmart TA/R5: 3 mins
Deputy Clerk Marion Holmes
Start: 3:53 p.m.
Stop: 3:56 p.m.
cc: AUSA, Dft’s Cnsl, PTS, USMS
Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 7 of 15
Case 2:23-mj-09072-ESW *SEALED* Document 7 *SEALED* Filed 02/28/23 Page 1 of 1

MAGISTRATE JUDGE'S MINUTES
IN THE UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA — PHOENIX

U.S. Magistrate Judge: Deborah M. Fine Date: February 28, 2023 SEALED
USA v. Christina Patacky-Beghin Case Number: 23-09072MJ-001-PHX-ESW

Assistant U.S. Attorney: Margaret Wu Perlmeter
Attorney for Defendant: Jason Duffy Squires, Retained
Pretrial Services Officer: Gina Sanchez

Interpreter: N/A

Defendant: Present LJ Not Present [1 Released & Custody O Summons UO Writ

DETENTION HEARING:

This is the time set for Detention Hearing and Status Hearing re: Identity Hearing. Defendant waives
the Rule 5(c)(3) Identity Hearing. The Court finds Defendant to be the individual named in the warrant
and Indictment. Detention Hearing held. Argument presented. The Government advises that the
charging district has indicated they will appeal any release order entered in this case. Accordingly, the
Government and charging district request that any release order be stayed to allow for the appeal
process. For the reasons stated on the record, Defendant is ordered released on her own recognizance
with conditions. FURTHER ORDERED staying the Order Setting Conditions of Release pending
appeal in the charging district and further order from the Court in the charging district.

11:07 AM The conditions of release are reviewed on the record with Defendant and Third-Party
Custodian. FURTHER ORDERED Defendant is committed to the Middle District of Pennsylvania,
Scranton Division for further proceedings. Order to issue. The record shall reflect that Defendant is
requesting court-appointed counsel for the Pennsylvania proceedings.

Recorded By Courtsmart DH 30min
Deputy Clerk Kathy Ballard ID Imin

Start: 10:42 AM
Stop: 11:13 AM

cc: AUSA; Defense Counsel; PTS; USMS
Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 8 of 15

Case 4:23-mj-09072-ESW *SEALED* Document 4 *SEALED* Filed 02/22/23 Page 1 of 1

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6 IN THE UNITED STATES DISTRICT COURT

7 FOR THE DISTRICT OF ARIZONA

8

9 United States of America, No. 23-09072MJ-001-PHX-ES W
10 Plaintiff, BRADY ORDER
11 v. (Filed under seal)
12|| Christina Patacky-Beghin,
13 Defendant.
14
15
16 Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the United States
17|| is ordered to disclose in a timely manner all exculpatory evidence to the defendant(s), that
18 || _ is, all evidence that is favorable to the defendant(s) or tends to cast doubt on the United
19|| States’ case, as required by Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Failure
20 || to comply with this order may result in consequences, including, but not limited to, the
21 || reversal of any conviction, the exclusion of evidence, adverse jury instructions, dismissal
22 || of charges, contempt proceedings, disciplinary action, and/or sanctions by the Court.
23 Dated this 22" day of February, 2023.
24 .
26 Honorable Eileen S. Willett
97 United States Magistrate Judge
28

cc: AUSA/Dft’s Cnsl

ne oe GSE 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 9 of 15
Case 2:23-mj-09072-ESW *SEALED* Document 8 Filed 02/28/23 Page 1 of 4

~ iff UNITED STATES DISTRICT COURT
ARIZONA — PHOENIX
February 28, 2022 SEALED
USA v. Christina Patacky-Beghin Case Number: MJ-23-09072-01-PHX-ESW
ply an / FILED ____ LODGED
ORDER SETTING CONDITIONS OF RELEASE “pecewep  ___ COPY
PERSONAL RECOGNIZANCE
(1 AMOUNT OF BOND: FEB 2 8 2023
(J) UNSECURED CLERK.U $ DisTaicy SaxRt
DISTRICT OF ARIZONA
C] SECURED BY: By LANG __B DEPUTY

SECURITY TO BE POSTED BY:
NEXT APPEARANCE: As directed through counsel

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the Court may impose the following least restrictive condition(s) only as
necessary to reasonably assure the appearance of the person as required and the safety of any other person and
the community.

IT IS ORDERED that. defendant is subject to the following conditions and shall:

Xx appear at all proceedings as. required and to surrender. for service of any sentence iniposed.
not commit any federal, state or local crime.

x cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.

x IMMEDIATELY advise his/her attorney and Pretrial Services, in writing, PRIOR to any change in
residence address, mailing address or telephone number.

C reside-at the address on file with Pretrial Services, and any change of address shall require PRIOR approval
by Pretrial Services.

x] maintain or actively seck employment (combination work/school) if physically and medically able to do
so and provide proof of such to Pretrial Services.

O not travel outside of the defendant’s authorized state of residence unless PRIOR Court or Pretrial Services
permission is granted to do so. The defendant shall not travel out of the United States unless PRIOR Court
approval is granted to do so.

not travel outside the defendant’s authorized state of residence unless PRIOR Court or Pretrial Services
permission is granted to travel clsewheré except that with at least two days PRIOR notice to Pretrial
Services, the defendant may travel dircctly to the prosecuting district, and through all states and counties
between the defendant’s authorized state’of residence and the prosecuting district, for Court purposes and
lawyer conferences. The defendant shall not travel out of the United States unless PRIOR Court approval
is granted to do so.

avoid all direct or indirect contact with persons who are considered alleged victim(s), potential witness(es),
codefendants. Contact-exclusively through counsel is-allowed..

X shall report as directed to the U.S. PRETRIAL SERVICES 1-800-769-7609 or 602-322-7350; 401 W.
Washington St., Suite 260, Phoenix, AZ 85003.

tJ not drive without.a valid driver license.

O execute an agreement to forfeit the bond or designated property upon failing to appear as required:

X be released. to the third-party custody of: Frank Beghin and shall reside with the third-party custodian
unless Pretrial Services approves the defendant to reside elsewhere.

“

USA y. Christina Patacky-Beghin

Case 3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 10 of 15
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Case Number: MJ-23-09072-01-PHX-ESW

XX

ww O

KX WO

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Page 2 of 4

consume no alcohol. Whe defendant shall participate in alcohol treatment, submit to alcoho! testing and
make copayment toward the cost of such services, as directed by Pretrial Services. The defendant shal]
not obstruct, tamper, or attempt to obstruct or tamper, in any fashion, with the efficacy and accuracy of
any substance use testing or monitoring.

not use or possess a narcotic drug or other controlled substance (as defined by 21 U.S.C. § 802) unless
prescribed for the defendant by a licensed medical practitioner; this provision docs not permit the use or
possession of medicinal marijuana even with a physician's written certification. The defendant shall
participate in drug treatment and submit to drug testing and make copayment toward the cost of such
services as directed by Pretrial Services: The defendant shall not obstruct, tamper, or attempt to obstruct
or tamper, in any fashion, with the efficacy and accuracy of any substance use testing or monitoring.
surrender all travel documents to Pretrial Services by

not obtain a passport or other travel documents during the pendency of these procecdings.

be.at.your residence during the hours specified by Pretrial Services.as curfew hours.

not possess or attempt to acquire any firearm, destructive device, or other dangerous weapon or
ammunition.
maintain weekly contact with his/her attorney by Friday, noon of each week.

timely pay his/her monthly child support payments as previously ordered by the subject state court in the
total amount of: $.

not obtain any new financial accounts without prior notification and approval of Pretrial Services,

participate in a mental health assessment and participate in mental health treatment as determined to be
necessary by a.medical or mental. health professional and follow any treatment directions by the treatment
provider, including taking all medication prescribed by the treatment provider unless the defendant objects
to a medication, and in that event the defendant shall immediately notify Pretrial Services. You must
contribute to the cost of such services in an amount to be determined by Pretrial Services

participate in a Specialized Treatment Program and comply with all treatment requirements including
taking all medications prescribed by a physician/psychiatrist and make a copayment toward the cost of
services as directed by Pretrial Services.

reside at an inpatient substance use treatment facility or a halfway house, as deemed appropriate, and shall
follow all program requirements including the directions of staff members. The defendant is required to
make a copayment toward the cost of services as directed Pretrial Services. The U.S. Marshals Service is
authorized, if requested by the program director or an authorized staff member, to remove the defendant
from the program for noncompliance at any time to include-evenings, weekends and holidays and place
the defendant in temporary custody pending court proceedings. Upon completion, the defendant is allowed
to reside al a residence approved by Pretrial Services.

resolve all pending lower court matters and provide proof of such to Pretrial Services.

appear at the United States Marshal’s Service Office at 401 W. Washington St., Phoenix, AZ 85003, to
make an identity record.

ADVICE OF PENALTIES AND SANCTIONS
Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for

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—~--Gase-3:23-cr-00026-MEM Document 64 Filed 03/02/23 Page 11 of 15
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USA v. Christina Patacky-Beghin Case Number: MJ-23-09072-01-PHX-ESW
Page 3 of 4
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for
contempt of court and could result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of
not more than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not
more than one year. This sentence will be consecutive (i.c., in addition) to any other sentence you reccive.

It is a crime punishable by. up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim,
or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more scrious if they involve a killing or
attempted killing.

{f, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve
a sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposcd.
If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment fora term of fifteen years or more

— you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years —

you will be fined hot more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two ycars,

or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or

both.

A term of imprisonment imposed for failure to appéar ‘or surrender will be consecutive to any other
sentence you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

I acknowledge that | am the defendant-in this case and that I am aware of the conditions of release. |
promise to obcy all conditions of release, to appear as directed, and to surrender for service of any sentence

rr

imposed. [ am aware of the penalties and sanctions sct forth above.

DATE: SIGNATURE OF DEFENDAD
Custodian agrecs to (a) supervise the defendant in accordance with all conditions of release, (b) to use

2 Of
2128123 |e
every effort to assure the appearance of the defendant at all scheduled court proceedings, and to notify the court

immediately in the event the defendant violates any condition of release or disappears. We, the undersigned, have
read and understand the terms of this bond and conditions of release and acknowledge that we are bound by it

until duly exonerated.

SIGNATURE OF, CUSTODAN(S)

—
fu

Directions to United States Marshal:

- Deke

(x The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge.

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’ USA v. Christina Patacky-Beghin Case Number: MJ-23-09072-01-PHX-ESW

Page 4 of 4

This Release Order is Stayed pending appeal in the. charging district. and further order fro
charging district.

DATE: February 28, 2023 ! (ae brrelh tu

Deborah M. Fine '
United States Magistrate Judge

cc: USA, PTS, USM, DEFT, DEFT ATTY

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Case 2|23-mj-09072-ESW *SEALED* Document 10 *SEALED* Filed 03/01/23 elof2
FILED LODGED
Mar 01 2023
1 GARY M. RESTAINO
nited States Attorney ' CLERK U.S. DISTRICT COURT
2| District of Arizona
MARGARET PERLMETER DISTRICT OF ARIZONA
3| Assistant U.S. Attorney .
Arizona State Bar No. 024805
4| Two Renaissance Square
40 N. Central Ave., Suite 1800
5 | Phoenix, Arizona 85004
Telephone: 602-514-7500
6} Email: margaret.perlmeter@usdoj.gov
7 Attorneys for Plaintiff
8 IN THE UNITED STATES DISTRICT COURT
9 FOR THE DISTRICT OF ARIZONA
10
1 United States of America, | No. MJ 23-9072-01-PHX-ESW
Plaintiff, UNITED STATES’ MOTION TO
12 _ | UNSEAL RECORDING FOR LIMTED
3 VS. . PURPOSE
Christina Patacky-Beghin,
14 (Filed Under Seal)
5 Defendant.
The United States of America, by and through undersigned counsel, respectfully
16
requests that the Court temporarily unseal the detention hearing held on February 28, 2023
17 '
for the limited purpose of allowing counsel for the United States to obtain a copy of
18 .
recording from the hearing to provide to the AUSA in charging district, the United States
19
Attorney’s Office in the Middle District of Pennsylvania (MDPA), for purposes of an
20
appeal. Defense counsel, Jason Squires, has been contacted and has no objection to this
21
request.
22
Accordingly, the United States requests the Court enter an Order unsealing the
23
recording of the detention hearing for the limited purpose of allowing counsel to obtain a
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Hf

Case 3:23-cr-00026-MEM ‘Document 64 Filed 03/02/23 Page 14 of 15

Case 2/23-mj-09072-ESW *SEALED* Document 10 *SEALED* Filed 03/01/23 Page 2 of 2
1 | copy of the recording for the MDPA.
2 Respectfully submitted this 1‘ day of March, 2023.
3
4 GARY M. RESTAINO
5 District of Arizona
6 s/Margaret Perlmeter
7 Assistant U.S. Attorneys
8
9 CERTIFICATE OF SERVICE
10) ] hereby certify that on the above filing date, I electronically transmitted the attached
11 | document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
1 Notice of Electronic Filing to the following CM/ECF registrant: Jason Squires
13 | 2s/Beth Hojnacki
14
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-2-

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Case 2:23-mj-09072-ESW *SEALED* Document 11 *SEALED* Filed 03/01/23 Page 1 of 1

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4 SEALED

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6 IN THE UNITED STATES DISTRICT COURT

7 FOR THE DISTRICT OF ARIZONA

8 United States of America, No. MJ 23-9072-01-PHX-ES W

? Plaintiff, ORDER
, vs. (Filed Under Seal)
12| Christina Patacky-Beghin,
13 Defendant.
14 The Court having considered the United States’ Motion to Unseal Recording for Limited
15 | Purpose, and good cause appearing,
16 IT IS HEREBY ORDERED that the detention hearing held on February 28, 2023, be
17 | unsealed for the limited purpose of allowing counsel for the United States to obtain a copy of the
18 | recording from the detention hearing.
19 IT IS HEREBY ORDERED that the United States Attorney’s Office in the District of
20| Arizona may provide a copy of the recording to the United States Attorney’s Office in the Middle
21 | District of Pennsylvania.
22 IT IS HEREBY ORDERED that the United States Attorney’s Office in the District of
23 Arizona may provide a copy of the recording to defense counsel, Jason Squires.
24
25 DATED this | day of March, 2033.
26
27 ONORABLE DEBORAH M. FINE
28 United States Magistrate Judge

(cc: AUSA/Dfns Cnsl/Rudy Apodaca)

